                          IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  WESTERN DIVISION
                           CIVIL CASE NO: 5:22-cv-491-BO-RN

 CRISTOBAL LOPEZ LOPEZ and GILBERTO             )
 FLORES LOZANO, on behalf of themselves and all )
 other similarly situated persons               )
                                                )
                     Plaintiffs                 )
 v.                                             )
                                                )              PLAINTIFFS’ BRIEF IN
 BOYKIN FARMS, INC., RHODES FARMING,            )               OPPOSITION TO LEE
 LLC, WILLIE C. BOYKIN, III, MATTHEW Z.         )            DEFENDANTS’ MOTION FOR
 RHODES, TONY D. LEE, d/b/a LEE AND SONS )                      PARTIAL SUMMARY
 FARMS, TONY CAMERON LEE, d/b/a LEE             )                  JUDGMENT
 AND SONS FARMS, and CLINT LEE, d/b/a LEE )
 AND SONS FARMS,                                )
                                                )
                     Defendants.                )
 ________________________________________ )

                                        INTRODUCTION

       Plaintiffs Cristobal Lopez Lopez and Gilberto Flores Lozano submit this Brief in

Opposition to Lee Defendants’ Motion for Partial Summary Judgment, DE 62, pursuant to LR

7.1(f), 7.2, and 56.1. Defendants Tony D. Lee, Tony Cameron Lee, and Clint Lee, collectively

doing business as Lee and Sons Farms (“Defendants” or “Lee Defendants”) argue that they are

entitled to summary judgment on many of Plaintiffs’ claims because their claims are allegedly

untimely, the Lee Defendants did not directly charge Plaintiffs or their co-workers for meals,

because Plaintiffs are allegedly not entitled to payment for driving time, and because Clint Lee

asserts he was not an employer under the Fair Labor Standards Act (“FLSA”) or the NC Wage

and Hour Act (“NCWHA”).

       Defendants’ motion for summary judgment must fail. Because the Lee Defendants acted

willfully when they violated the FLSA, Plaintiffs are entitled to a three-year statute of



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limitations. Their claims are timely. Material facts in dispute regarding the meals make

summary judgment as to Plaintiffs’ meal claim inappropriate. Defendants misstate Plaintiffs’

driving time claims and their argument fails as a matter of law. And finally, Clint Lee as a

general partner of Lee and Sons, Clint Lee is jointly and severally liable for the violations of the

other Lee Defendants.

                                    STATEMENT OF FACTS

          In 2019, 2020, and 2021, Lee and Sons Farms, Boykin Farms, and Rhodes Farming

applied as joint employers for H-2A workers by submitting clearance orders, also known as job

orders (Form ETA-790/790A), to the U.S Department of Labor for certification. Plaintiffs’

Statement of Material Undisputed Facts in Support of Motion for Partial Summary Judgment

(“Pls’ SMF”), DE 71, ¶¶10-12, 15. In 2022, Boykin Farms and Rhodes Farming again applied

for H-2A workers as joint employers, and Lee and Sons Farms applied separately.2 Pls’ SMF

¶11.

          Lee and Sons Farms is a general partnership. Defendants Tony D. Lee, Cameron Lee,

and Clint Lee are each general partners. SMF ¶¶37-29.

          By regulation, the H-2A clearance orders must contain all material terms and conditions

of employment. Pls’ SMF ¶3. Each clearance order required employers to keep accurate records

of their employees’ earnings, provide pay statements that include the hours worked, pay at least

the Adverse Effect Wage Rate (AEWR), and provide a copy of the work contract or clearance

order to each H-2A worker. Id. ¶4-6, 8, 26(b), (d), (f). Each clearance order also included a

promise to reimburse employees’ transportation and subsistence expenses in accordance with 20

C.F.R. § 655.122(h), with inbound transportation reimbursed at the end of the first workweek. Id.

¶27(c).


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       Plaintiffs Cristobal Lopez Lopez (“Lopez Lopez”), Gilberto Flores Lozano (“Flores

Lozano”), and their co-workers traveled to North Carolina from Mexico to work for Defendants

as agricultural workers through the H-2A program. Pls’ SMF ¶¶13-14, 16-17 29-30. Lopez

Lopez and Flores Lozano were placed on the Lee and Sons crew pursuant to two different

clearance orders: one from April 25 to November 2020 (“April 2020 Contract”), DE 53-1, and

one from April 26 to November 27, 2021 (“April 2021 Contract”), DE 53-2. Pls’ SMF ¶¶13-14,

6-17, 31. In order to come to North Carolina and work for Defendants, the named Plaintiffs and

their coworkers incurred travel expenses from their homes to the Consulate in Monterey,

Mexico; lodging near the Consulate while they waited for their appointments; a $190 visa fee; a

$6 border crossing fee; the cost of bus transportation from Monterey to North Carolina; and their

meals throughout this journey. Id. ¶71. Defendants knew that they were obligated to reimburse

their H-2A employees for these expenses in their first workweek. Id. ¶¶72-73. Defendants admit,

however, that they did not fully reimburse the named Plaintiffs, opt-in Plaintiffs, or the members

of the NCWHA Reimbursement Subclass for inbound transportation at the end of the first

workweek. Id. ¶¶77-78. Because these workers were paid on an hourly basis at the AEWR rate

during their first workweek, Defendants’ failure to reimburse them fully during that workweek

meant they did not earn the AEWR because of that de facto deduction from their wages. That

same deduction was enough to lower those workers’ wages for that first workweek below the

minimum wage.

       H-2A employers, like the Defendants, are required to pay their H-2A employees at least

the AEWR – a rate set each year by regulation-- for all of their hours worked in any workweek,

even when the H-2A employees perform piece-rate work. Pls’ SMF ¶¶5-6. H-2A employers are

required to track all actual hours worked and piece-rate compensation earned in order to ensure


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that the employees earn at least the AEWR. If the piece-rate compensation is less than the

workers would be paid under the AEWR, the employers must provide additional pay to bring

their employees up to the AEWR. Id. ¶6, 26(b)-(d), 113. With certain crops, including cucumbers

and sweet potatoes, Defendants at times paid Plaintiffs and their co-workers on a piece-rate

basis. Id. ¶106. Defendants failed to maintain records of hours worked, however, and did not

ensure that their employees earned at least the AEWR. Id. ¶¶107, 109, 111, 113. For multiple

weeks, many of the workers being paid on a piece-rate basis did not earn at the AEWR level, and

thus were underpaid. Id. ¶¶125-127.

       In addition to working in the fields, Lopez Lopez performed work driving his co-workers

to the bank and grocery store. Pls’ SMF ¶128. Both named Plaintiffs drove their co-workers from

the labor camps to the fields and from the fields to the labor camps. Pls’ SMF ¶ 135. Defendants

did not track this time, and did not pay them for this time. Id. ¶¶130-132, 136-37. During some

weeks in which he performed this driving work, Lopez Lopez worked more than 40 hours, id.

¶135, but Defendants did not pay him overtime for those hours. Id. ¶¶134-8.

                                           ARGUMENT

       When a party moves for summary judgment, they must carry “the burden of showing that

no genuine issue of material fact exists and that the moving party is entitled to judgment as a

matter of law.” Estate of Kimmel ex rel. Kimmell v. Seven Up Bottling Co., 993 F.2d 410, 412

(4th Cir. 1993). “A dispute is genuine if a reasonable jury could return a verdict for the

nonmoving party. . . and [a] fact is material if it might affect the outcome of the suit under the

governing law.” Libertarian Party of Virginia v. Judd, 718 F.3d 308, 313 (4th Cir. 2013)

(internal quotation and citations omitted). “Once the moving party has met its burden, the non-

moving party must then set forth specific facts showing that there is a genuine issue for trial.”



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Nguyen v. Austin Quality Foods, Inc., 974 F. Supp. 2d 878, 882 (E.D.N.C. 2013) (internal

quotations and citations omitted). “In making a determination on a summary judgment motion,

the court views the evidence in the light most favorable to the party opposing the motion,

granting that party the benefit of all reasonable inferences.” Id.

          As Plaintiffs set forth below, the evidence demonstrates that there are multiple areas of

disputed material facts. The Lee and Sons Defendants (“Defendants”) have failed to carry their

burden, as required by Rule 56(a), and therefore their motion for summary judgment should be

denied. Where the facts are undisputed, Lee and Sons cannot prevail as a matter of law on their

legal arguments.

I.        If the NCWHA class is certified, Plaintiffs have standing to pursue claims for 2022.

          Defendants claim that Plaintiffs do not have standing to assert claims with respect to

2022 violations of the NCWHA. Lee Defendants’ Memorandum of Law in Support of Motion

for Partial Summary Judgment (“Defs’ MSJ”), DE 63, p. 15 1. Plaintiffs’ claims for that year are

not individual claims, but class claims, and it is common for class definitions to cover a time

period that is more expansive than the time when a class representative worked for the employer.

In Moodie v. Kiawah Island Inn Co., LLC, the plaintiffs sought certification of a class of H-2B

workers who worked for the defendant in 2012, 2013, and 2014. None of the named plaintiffs

was employed by the defendant in 2012, but the District of South Carolina found them to be

adequate class representatives because “there is no evidence in the record that the claims of

workers employed in 2012 would differ from those of workers employed in 2013 or 2014.” 309

F.R.D. 370 at 279 (D.S.C. 2015); see also, Gaxiola v. Williams Seafood of Arapahoe, Inc., 776

F.Supp.2d 117, 130-31 (finding the named plaintiff showed commonality and typicality where


1    Page number references to documents other than depositions refer to the ECF pages numbers.


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she only worked for defendants for four weeks but sought certification for a class covering a

five-year period). It is also routine for classes to be certified as through the date of certification,

notwithstanding that the named plaintiffs usually no longer work there. See, e.g., Wade v. JMJ

Enterprises, LLC, 2023 WL 391683, at *3 (M.D.N.C. Sept. 30, 2023); Romero v. Mountaire

Farms, 796 F.Supp.2d 700, 708 (E.D.N.C. 2011); McLaurin v. Prestage Foods, Inc., 271 F.R.D.

465, 469 and 479 (E.D.N.C. 2010).

        Because Plaintiffs suffered the same harms from the same policies as the members of the

proposed classes did, regardless of the year in which they worked, Plaintiffs have standing to

raise these claims as part of their role as putative class representatives.

II.     A three-year statute of limitations is appropriate for Plaintiffs’ FLSA claims.

        “[T]he length of the [Fair Labor Standards Act’s] statute of limitations depends upon

whether the violation at issue was willful. If it is not willful, the limitations period is two years,

but the period is three years for willful violations.” Calderon v. Geico General Ins. Co., 809 F.3d

111, 130 (4th Cir. 2015) cleaned up; see 29 U.S.C. § 255(a). Though Lee and Sons argues that

Plaintiffs are only entitled to a two-year statute of limitations, they fail to make any showing that

Lee and Sons did not act willfully when they failed to reimburse their employees for travel-

related expenses in the first workweek, despite their admission that they knew they were legally

obligated to do so. Defs’ MSJ, p.17. An employer acts willfully if they know that their actions

are prohibited by the Fair Labor Standards Act (“FLSA”), or at the very least, acts with reckless

disregard for the law. See McLaughlin v. Richland Shoe Co., 486 U.S. 128, 133 (1988). An

employer's conduct is considered to be in reckless disregard of the FLSA if the employer should

have inquired further into whether its conduct was in compliance with the FLSA and failed to

make adequate inquiry. 29 C.F.R. § 578.3(c)(3).



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       Plaintiffs moved for summary judgment on their claim that the Lee Defendants violated

the FLSA by failing to reimburse them in the first workweek and that this violation was willful,

entitling them and the opt-ins to damages going back three years before each of them joined this

action. Memorandum in Support of Plaintiffs’ Motion for Partial Summary Judgment

(“Plaintiffs’ MSJ”), DE 70, pp. 18-21. Cameron Lee and Tony Lee testified that they knowingly

did not comply with the FLSA because they perceived that reimbursing their employees in the

first workweek incentivized them to leave their employment. Plaintiffs’ Statement of Material

Facts (“Pls’ PLS’ SMF”), DE 71, ¶¶72-73. Cameron Lee opined that the rules regarding

reimbursements should be changed for that reason:

       They need to change that law to where they get their inbound and outbound pay
       when they complete 75 percent of the contract. A man come and make $600 or
       more – on his – well, 700 on his first week, and then he’s got 600 more from
       travel, he’s got $1,300 where he can go anywhere he wants to, to a construction
       job or whatever.

       Cameron Lee Dep., DE 72-2, 154:15-23.

       Del Al, the company Defendants hired to help recruit H-2A workers in Mexico and

facilitate them coming to North Carolina, provided Lee and Sons with a document for each

employee that listed the amounts Lee and Sons needed to reimburse in the first workweek.

Cameron Lee Dep. 141:16-143:17; 144:6-20 (referring to Exhibit 11, found at pp. 267-274); see

also Lee and Sons 2020 and 2021 Reimbursement Records, DE 71-10, and 71-11. Lee and Sons’

conclusory statement that they did not act willfully cannot entitle them to summary judgment;

even more so when the undisputed facts with respect to Plaintiffs’ reimbursement claim,

including Defendants’ own admissions, demonstrate that they were aware of their legal

obligation and chose not to comply.




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        There is also undisputed evidence that Defendants willfully disregarded the FLSA by

failing to ensure that Juan Perez accurately tracked the hours worked by the named Plaintiffs and

Opt-in Plaintiffs so that they were paid in compliance with the FLSA when they did piece-rate

work. PLS’ SMF ¶¶110-11. The Lee Defendants testified that they were aware of the legal

requirement to pay at least the Adverse Effect Wage Rate during weeks when the H-2A workers

were working by the piece, yet did not take steps to comply with that requirements. Pls’ MSJ,

pp. 28-29; PLS’ SMF ¶115.

        Defendants cannot prevail on summary judgment on their argument that they did not

willfully violate the FLSA; therefore, the three-year statute of limitations applies to the Opt-in

Plaintiffs’ claims, and Defendants’ argument that the Opt-in Plaintiffs’ FLSA claims accruing

more than two years before they joined this action by filing their consent are barred is

unavailing. Defs’ MSJ, pp. 19-21. Opt-In Plaintiffs Orlando Eliseo Rebolloza Gutierrez and Juan

Antonio Torres Rebolloza worked for Defendants after the three-year cut-off of April 8, 2021.

See DE 44-1 (Orlando Eliseo Rebolloza Gutierrez opt-in form, filed April 8, 2024); DE 65-10, p.

8 (dates of work April 2021 to November 2021); DE 45-1 (Juan Antonio Torres Rebolloza opt-in

form, filed April 8, 2024); DE 65-11, p. 7 (dates of work April 23, 2021 to December 7, 2021) 2;

Defs’ MSJ, p. 20 (acknowledging dates of employment). Opt-In Plaintiff Jorge Alberto

Rebolloza Garcia worked after his three-year cut-off date of March 12, 2021. DE 40-1 (opt-in

form, filed March 12, 2024); DE 65-9, p. 7 (dates of work April 23, 2021 to November 27, 2021

and May 20, 2022 to November 26, 2022); Defs’ MSJ, p. 20 (acknowledging dates of

employment).




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 There is a typographical error in the interrogatory response, where December 7, 2021 is incorrectly
written as December 7, 2020.
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        Defendants’ motion that the claims of Plaintiffs and Opt-in Plaintiffs are subject to a two-

year statute of limitations should be denied. As Plaintiffs discuss more fully in their Response to

Lee Defendants’ Motion to Decertify Collective Action, the collective actions should not be

decertified either, but should the Court decertify Plaintiffs’ action, Plaintiffs request that the opt-

in Plaintiffs be provided an opportunity to join as named Plaintiffs to assert their FLSA claims.

III.    There are material facts in dispute regarding meal plans.

        There are material facts in dispute regarding Plaintiffs’ claims related to meal plans and

kitchen access. Defendants claim that they were not involved in providing or selling meals to the

H-2A workers, were not aware of any arrangements between workers and anyone who sold them

meals, never discussed food or meals with Juan Perez, did not give permission to anyone other

than the H-2A workers living in the camp to use the kitchens, and the Lee Defendants were

completely hands off the food. Defs’ PLS’ SMF ¶¶30-32. All of these facts are disputed. Text

messages between Cameron Lee and Juan Perez demonstrate that Cameron Lee was well aware

of the arrangement between the cooks (Maria and Laura) and the H-2A workers to provide and

sell meals and that Cameron Lee discussed the food and meals with Juan Perez. DE 80-1, p. 2

(“Do you want a plate Maria and her mom cooked”), p. 3 (“Laura is back cooking and she called

said the kitchen smells like gas but she doesn’t know which stove, I told her I’d tell you”), p. 4

(“Maria took dinner to the guys”), p. 5 (“Does Laura have drinks also?”), p. 6 (“Thank y’all for

the lunch, I’m going to pay Maria”). See also Cameron Lee Dep. 79:15-18 (“I think they were

maybe getting plates from Juan’s wife”); Juan Perez Dep. 101:14-102:4 (both the Lees saw

Maria bring food to the field, and “pretty sure” they knew the workers paid for it). Tony Lee

knew that his live-in friend (Tony Lee Dep. 78:12-79:2) or girlfriend (Flores Lozano Dep., DE

72-5, 73:24-74:1) was also selling meals to the H-2A workers that she prepared in the migrant



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housing kitchen. Tony Lee Dep. 77:15-22, 78:12-24, 82:3-83:8. Plaintiffs assert that the kitchens

were locked and workers were unable to access them. Flores Lozano Dep., 16:2-17:22; 19:3-

20:2. Lee and Sons denies this. Juan Perez Dep. 110:2-4, 113:13. Plaintiffs argue that Lee and

Sons gave permission to Laura Tobias and Maria to cook for the workers in the camp kitchens.

Tony Lee Dep. 84:23-85:1; Juan Perez Dep. 111:14-20. Lee and Sons denies this. Defs’ MSJ, p.

23. Plaintiffs state that they were not allowed to opt out of the meal plan. Lopez Lopez Dep.

47:21-23 (“So the way it worked, it was whether you eat or ate or not, they would charge the

same. It was that same amount of money”); Flores Lozano Dep. 74:2-6 (“we were given to

understand that we were obligated to eat there”). Lee and Sons denies this. Defs’ MSJ, p. 23.

        There are also numerous undisputed facts that undercut Defendants’ argument that they

are entitled to summary judgment on Plaintiffs’ claims related to the meal plans. It is undisputed

that Tony Lee and camp cook Laura Tobias had a relationship. Tony Lee Dep. 79:12-80:3,

81:21--25. It is undisputed that Maria met the workers at the camp after they cashed their

paychecks to collect payment for the meals. Juan Perez Dep. 98:2-15. It is undisputed that the

April 2020 and April 2021 Contracts promised that the H-2A workers would have access to the

camp kitchens to cook their meals, and that meals would not be deducted. PLS’ SMF ¶27(a) and

(b). It is undisputed that some H-2A workers purchased their own refrigerators to store food, and

that some purchased grills to cook their food outside. Flores Lozano Dep. 75:10-21; Juan Perez

Dep. 111:22-112:14. These undisputed facts, and the disputed facts when taken in the light most

favorable to Plaintiffs, demonstrate why summary judgment on this claim is inappropriate.

IV.     Driving time to and from the fields is compensable under the FLSA and the
        NCWHA.

        Lee and Sons is not entitled to summary judgment on Plaintiffs’ individual claims for

compensation under the FLSA and the NCWHA for their unpaid time driving their co-workers

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from the migrant labor camps to the fields and back. It is undisputed that the named Plaintiffs did

this driving and that they were not paid for it. Pls’ PLS’ SMF ¶¶129, 132, 135, 137. The Portal to

Portal Act, 29 U.S.C. § 251, et seq., and Employee Commuting Flexibility Act, 29 U.S.C. §

254(a), do not bar Plaintiffs’ recovery, because Plaintiffs’ transportation of their H-2A co-

workers was either a principal activity or integral and indispensable to their activities as

farmworkers, and payment of driving time was required by the H-2A contract. Plaintiffs’ driving

time is also compensable under the NCWHA, since it was time Plaintiffs spent working for Lee

and Sons.

       A. Plaintiffs’ transporting of their co-workers to and from the fields was a principal
          activity.

       Lee and Sons argues that as a matter of law, Lee and Sons’ failure to pay the named

Plaintiffs for time they spent driving their co-workers from the migrant housing to the fields and

back is not compensable time, based on the Portal to Portal Act. 29 U.S.C. § 254(a)(1). The

FLSA regulations specify that, while travel from home to work is typically not compensable

time, “travel from the place of performance of one principal activity to the place of performance

of another” as well as “travel during the employee’s regular working hours” and “travel outside

… regular working hours at the direction and on the business of … [the] employer” is

compensable. 29 C.F.R. § 790.7(c).

       It is also clear from the regulations that the person who is driving employees as part of

their job is engaged in a compensable activity, even if the passengers’ travel time is not

compensable. 29 C.F.R. § 785.41. In Segovia v. Fuelco Energy LLC, drivers drove passenger

vans or trucks to transport crews between the hotels where they were temporarily housed to the

job site. No. SA-17-CV-1246-JKP, 2022 WL 4545756, at *1 (Sept. 28, 2022). The court found

that driving was a principal activity, and denied the employer’s motion for summary judgment:

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       It is difficult to challenge the logic of plaintiffs' argument that chauffeuring is
       work. It plainly differs from merely riding as a passenger or even driving oneself.
       The responsibility for driving comes with numerous attendant obligations, not the
       least of which is staying awake and steering the van from place to place. The
       burden of that obligation is commensurately greater when one is responsible for
       the safety of others. The driver also has to fuel the vehicle and has to make certain
       it is in good repair. If the driver were sick or chose to take a day off, presumably
       he would be obligated to ensure that another suitable driver replaced him.

       Id., 2022 WL 4545756, at *17.

       As in Segovia, Plaintiffs’ driving of their co-workers was different from carpooling,

because one of the H-2A workers either had to drive, or Defendant had to hire another driver,

making driving “an activity for which the employer employed an individual.” Id., 2022 WL

4545756, at *20.

       Principal activities are not limited to the main work activities performed by an employee.

For example, the sharpening of knives by a meatpacker and the changing of clothes potentially

contaminated with toxic chemicals at a battery plant have been held to be principal activities.

Integrity Staffing Solutions, Inc. v. Busk, 135 S.Ct. 513, 518 (2014) (listing cases).

       “[A]ny activity that is ‘integral and indispensable’ to a ‘principal activity’ is itself a

‘principal activity’ under [section 254(a) of the [Portal to Portal Act]. IBP v. Alvarez, 546 U.S.

21 at 37 (2005). The Supreme Court defined such activities as those “that an employee is

employed to perform if it is an intrinsic element of those [principal] activities and one with

which the employee cannot dispense if he is to perform his principal activities.” Integrity

Staffing, 574 U.S. 27 at 33.

       Even if an employer could eliminate certain activities without that preventing

performance of the principal activities, that does not mean the activities are not integral and

indispensable: “The fact that [employer] conceivably could have devised a way to eliminate the

necessity of these morning tasks and may do so in the future does not change their nature or their

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relationship to the principal activity in this case.” Brantley v. Ferrell Electric, Inc., No. CV 114-

022, 2015 WL 3541552, at *19 (S.D. Ga. May 29, 2015); Brennan v. E.R. Field, Inc., No. 73-

1402, 1974 WL 11099, at *2 (1st Cir. 1974) (upholding the district’s court’s determination that

the Portal to Portal Act did not preclude driving to be worktime because the electrician’s use of

the company truck to drive his co-workers to jobsites was part of the employer’s business).

        Here Plaintiffs and their co-workers were H-2A workers from Mexico, who worked

seasonally in North Carolina for Lee and Sons. Pls’ PLS’ SMF, ¶¶13-14, 29-30. They travelled

to North Carolina from Mexico by bus, and therefore did not have their own means of

transportation to and from the fields. Id. ¶71, Lopez Lopez Decl, DE 26-1, ¶11; Flores Lozano

Decl., DE 26-2, ¶11. Plaintiffs were directed by Lee and Sons’ supervisor Juan Perez to drive

because they had Mexican drivers’ licenses. Juan Perez Dep., 40:17-22; Cameron Lee Dep.,

131:15-132:8. Unlike the situation in Tanaka v. Richard K.W. Tom, Inc., 299 F.Supp. 732, 735

(D. Hawaii 1969), the H-2A workers did not have the option to drive themselves to and from the

fields. Despite the H-2A clearance order statement that the use of the employer-provided

transportation was voluntary, as a practical matter no H-2A worker would have been able to get

to the fields without it.

        B. The H-2A contract requires Lee and Sons to pay for the Plaintiffs’
           transportation of their co-workers.

        Even where certain activities covered by the Portal to Portal Act would typically not be

compensable, the Act provides an exception where a written or unwritten contract is in place

promising such compensation. 29 U.S.C. § 254(b). Defendant mentions offhandedly that this

section does not apply because, while the H-2A contract requires the employer to provide free

transportation to employees, it does not say that driving time is compensable. Defs’ MSJ, pp. 25-

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       Transportation of migrant farmworkers is highly regulated. 29 C.F.R. Subpart D. While it

is true that the H-2A contract does not explicitly refer to payment for drivers, it makes the

following statements:

       Compliance with Transportation Standards.
       Employer assures that all employer-provided transportation will comply with all
       applicable Federal, State, or local laws and regulations. Employer agrees to provide, at a
       minimum, the same transportation safety standards, driver licensure, and vehicle
       insurance as required under 29 U.S.C. 1841 and 29 CFR 500.105 and 29 CFR 500.120 to
       500.128. If workers’ compensation is used to cover transportation, in lieu of vehicle
       insurance, the employer will ensure that such workers’ compensation covers all travel or
       that vehicle insurance exists to provide coverage for travel not covered by workers’
       compensation. Employer agrees to have property damage insurance. 20 CFR
       655.122(h)(4).

       April 2020 Contract, DE 53-1, p. 7; April 2021 Contract, DE 53-2, p. 7.

       Though not a hiring requirement, if a worker drives a company vehicle during the period
       of employment then at the time of operating the vehicle the drive must possess a valid
       drivers license issued by a U.S. state or foreign equivalent and operate the company
       vehicle in accordance with the license restrictions and vehicle classifications applicable
       to that license.

       April 2020 Contract, DE 53-1, p. 13; April 2021 Contract, DE 53-2, p. 13.

       20 C.F.R. § 655.122(h)(4) requires that the job offer to the H-2A workers describe the

mode of transportation that will be used for daily transportation. The same regulation at (h)(3)

requires the employer to “provide transportation between housing provided or secured by the

employer and the employer’s place of employment at no cost to the worker.” 29 C.F.R. §

500.105 includes multiple physical, minimum wage, driving skill, English knowledge, and

licensing requirements for each driver. It also limits the number of hours a driver can be required

to drive. If Lee and Sons were not going to require an H-2A worker to drive its employees, it

seems clear that they would have to pay someone else to do it so they could ensure that all the

regulations are followed. The contract requires the employer to sign under penalty of perjury an

assurance that “all working conditions comply with applicable Federal and state minimum wage

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… laws.” April 2020 Contract, p. 9; April 2021 Contract, p. 9. These requirements, taken

together, indicate that the intent of the contractual requirement to provide free transportation to

H-2A workers includes a requirement to pay H-2A workers who work for the employer to

provide such transportation. This creates an exception to the Portal to Portal Act and renders the

driving time compensable.

C.     Plaintiffs’ driving time is compensable work under the NCWHA.

       Even if the Portal to Portal Act were to bar employees from claiming travel time as

compensable under the FLSA, there is no such bar under the NCWHA. The NCWHA was never

amended to add a Portal to Portal Act and the broad definitions of “hours worked” and “employ”

were not adopted until 1959, well after the passage of the Portal to Portal Act in 1947. N.C. Gen.

Stat. §§ 95-25.2(3) and (8). Despite numerous amendments to the NCWHA, Portal to Portal Act

language restricting the compensability of certain work activities has never been added. The

regulations under the NCWHA specifically state that “where there are intentional differences in

the language of the North Carolina statutes … the federal decisions will not be binding on the

Department [of Labor].” 13 NCAC § 12.0103. Therefore, whenever an employer suffers or

permits an employee to perform work, that is compensable work time under the NCWHA even if

it is not compensable under the FLSA.

       This is the situation that the District of the District of Columbia considered in Dinkel v.

MedStar Health Inc., No. CV 11-998(CKK), 2015 WL 5168006, at *6 (Sept. 1, 2015). Like the

NCWHA, the DC minimum wage law does not include the Portal to Portal Act restrictions, but

does look to the FLSA for interpretation of what is considered to be compensable work time. Id.

at *3. The court thus relied on FLSA caselaw that predated the Portal to Portal Act to determine

what is compensable work time under the DC Minimum Wage Act. Id., at * 6. See also Miranda



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v. Coach, Inc., No. 14-CV-02031-JD, 2015 WL 1788955, at *2 (N.D. Cal. Apr. 17, 2015)

(declining to apply the reasoning of Integrity Staffing to a case under California law, since

California does not have a Portal to Portal Act).

       Since the Portal to Portal Act does not apply, the remaining question is whether the

driving time was work time under the NCWHA. Defendants were involved in designating drivers

and ensuring they were licensed. Juan Perez Dep., 40:17-22; Cameron Lee Dep. 131:15-23. Lee

and Sons’ supervisor Juan Perez collected Plaintiffs’ drivers’ licenses and provided them to the

Lees. Juan Perez Dep., 39:15-18. Cameron Lee and Juan Perez decided who would drive the

vehicles. Tony Lee Dep., 94:9-14. Lee and Sons directed the named Plaintiffs to drive. Flores

Lozano Dep. 26:6-7 (“Q. Did you drive the transporter every day in 2020? A. No, just when

Juan told me to”); Lopez Lopez Dep. Exhibit 47, p. 174 (“Juan Perez told us we had to eat the

food they provided and told me that I had to drive the bus”); Juan Perez Dep., 39:13-22;

Cameron Lee Dep., 131:15-132:8. After Plaintiff Lopez Lopez declined to continue to drive, he

was not asked to return to work for Lee and Sons. Lopez Lopez Dep. 16:17-17:21. All of these

facts demonstrate that driving was part of the named Plaintiffs’ work for Lee and Sons.

       There is no requirement under the NCWHA that Plaintiffs show Lee and Sons had agreed

to pay them for their driving time. In Martinez-Hernandez v. Butterball, LLC, this court stated,

“Were the court to interpret § 95-25.6 as requiring plaintiffs to prove that their employer

expressly agreed to pay them for particular services performed … an employer would be able to

avoid payment of any wages to his employees by simply claiming that the services rendered,

although for the benefit of the employer, were something other than ‘work.’ [The employer’s]

argument here flies in the face of the protections afforded employees by the North Carolina

Wage and Hour Act and cannot be sustained.” 578 F.Supp.2d 816, 822 (E.D.N.C. 2008).



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Regardless, Lee and Sons did consider the driving time to be work time. Cameron Lee Dep.

91:21-93:2.

       Q. Okay. And how are the drivers paid for that work?
       A. Well, we told him to be sure to pay them for their time driving the bus.
       Q. Okay. So you told Juan to make sure they were –
       A. Yes.
       Q. – paid for their time?
       A. We told him to make sure they were compensated for their time driving.
       Q. And he was supposed to put that in his timekeeping –
       A. Yes.
       Q. –book? Okay. Was she supposed to pay them at the same H-2A wage rate or
           at some other wage rate?
       A. I’m assuming it to be the same. I’m not sure.
       Q. All right. And was your understanding that they would be paid for driving
           workers from the camp to the field?
       A. Yes.
       Q. And that they would be paid for driving workers from one field to another
           field?
       A. And coming home.


       Cameron Lee Dep. 132:9-133:9.

       Because Lee and Sons suffered or permitted Plaintiffs to drive, the time they spent

driving was work time. N.C. Gen. Stat. § 95-25.2(3).

V.     Plaintiff Lopez Lopez is entitled to overtime pay for weeks in which he drove co-
       workers on errands.

       Defendants do not appear to be asking for summary judgment on Plaintiff Lopez Lopez’s

claim for overtime pay during workweeks in which he drove his co-workers to and from the bank

and/or the grocery store, which is the only claim for overtime Plaintiff has made. Complaint,

¶¶100, 151; Defs’ MSJ, pp. 24-26. If there were weeks in which Plaintiff Lopez Lopez did not

perform non-agricultural work by driving his co-workers to and from the bank and/or grocery

store, Plaintiffs agree that he would not be entitled to overtime during those weeks. However, for

those workweeks in which he did perform such non-agricultural work, the overtime pay owed



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would be based on all of Plaintiff’s time worked during such weeks, including any driving at the

start or end of the day, not simply the time spent driving co-workers to perform errands. 29

C.F.R. § 780.11 (“Where an employee in the same workweek performs work which is exempt

under one section of the Act and also engaged in work to which the Act applies but is not exempt

under some other section of the Act, he is not exempt that week, and the wage and hour

requirements of the Act are applicable). Furthermore, Lee and Sons has the burden of showing

Plaintiff was subject to an exemption for the driving to and from the bank and/or the grocery

store, which they have not done. See Rios-Gutierrez v. Briggs Traditional Turf Farm, Inc., 747

F.Supp.3d 1211, 1228 and 1231 (W.D. Mo. 2024). Lee and Sons is therefore not entitled to

summary judgment on the issue of whether they violated the FLSA when they failed to pay

Plaintiff Lopez Lopez overtime.

VI.       Clint Lee is jointly and severally liable for the violations of Lee and Sons and the
          other Defendants.

          Defendants argue that Clint Lee is not liable as an employer under the FLSA and

NCWHA, Defs’ MSJ, pp. 26-27, but they ignore his joint and several liability with the other

Defendants. 3 Lee and Sons admitted to employing the named Plaintiffs and to employing other

workers under the H-2A programs. Answer, DE 18, ¶¶34, 38-39. As a general partner in Lee and

Sons Farms, Clint Lee is liable for any violations by Lee and Sons, regardless of whether he was

an employer under the FLSA or NCWHA. N.C. Gen. Stat. § 59-45; Pls’ MSJ, pp. 11-12.

                                               CONCLUSION

          As outlined above, there are multiple issues of disputed fact that necessitate the denial of

the Lee Defendants’ Motion for Summary Judgement. When the facts as outlined here are taken




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    Defendants do not argue that Clint Lee is not liable for Plaintiffs’ breach of contract claims.
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in the light most favorable to the Plaintiffs, Plaintiffs should prevail as a matter of law. Plaintiffs

respectfully request the Court deny the Lee Defendants’ Motion for Summary Judgment.



       This, the 7th day of April, 2025.

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                                    CERTIFICATE OF SERVICE

         This is to certify that the undersigned has this date served the original of the foregoing
document with the Clerk of Court using the CM/ECF system, which will send notification of such
filing electronically to counsel for Defendants by email to the following e-mail addresses:


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This, the 7th day of April, 2025.

                                      /s/ Carol L. Brooke
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